Case 19-32825 Document 25 Filed in TXSB 0n 07/12/19 Page 1 of 3

ALLEGED DEBTOR HL BUILDERS, LLC’S WITNESS AND EXHIBIT LIST

 

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

 

Case No:19-32825 (Chapter 11 Involuntary)

Name of Debtor: HL Builders, LLC, Alleged
Debtor

 

 

 

 

 

Witnesses:
Robert Parker Judge: Eduardo V, Rodriguez
Anna Williams Hearing Date: July 16, 2019

 

Any witness designated by any other party

Hearing Time: 8:30 a.m.

 

Party’s Name: HL Builders, LLC

 

Attorney’s Name: Richard L. Fuqua

 

Attorney’s Phone: (713) 960-0277

 

Nature of Proceeding:

Involuntary Petition filed by Houtex Builders, LLC;
2203 Looscan Lane, LLC and 414 Shadywood, LLC
[Doc. No. 1];

Emergency Motion of Petitioning Creditors Houtex
Builders, LLC, 415 Shadywood, LLC, and 2203
Looscan Lane, LLC for Joint Administration of Cases
[Boc, No, 2];

Emergency Motion of Petitioning Creditors Houtex
Builders, LLC, 415 Shadywood, LLC, and 2203
Looscan Lane, LLC to Appoint a Chapter 11 Trustee
[Doc. No. 3]

 

 

 

 

 

EXHIBITS
Ex. Description Offered | Objection | Admitted/ | Disposition
Hf Not
Admitted

 

1 | Proof of Claim No. 12-1 filed 12/26/18
by CD Homes, LLC in HouTex
Builders, LLC, Case No. 18-34658

 

2 | Proof of Claim No. 13-1 filed 12/26/18
by CD Homes, LLC in HouTex
Builders, LLC, Case No, 18-34658

 

3 | Proof of Claim No. 16-1 filed 12/31/18
by CD Homes, LLC in HouTex
Builders, LLC, Case No. 18-34658

 

 

4 | Proof of Claim No. 3-1 filed 12/26/18
by CD Homes, LLC in 2203 Looscan

 

 

 

 

 

 

 
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Lane, LLC, Case No, 18-34660

 

Proof of Claim No. 4-1 filed 12/26/18
by CD Homes, LLC in 2203 Looscan
Lane, LLC, Case No. 18-34660

 

Proof of Claim No. 4-1 filed 12/26/18
by CD Homes, LLC in 415
Shadywood, LLC, Case No, 18-34659

 

Proof of Claim No. 5-1 filed 12/26/18
by CD Homes, LLC in 415
Shadywood, LLC, Case No. 18-34659

 

Proof of Claim No. 6-1 filed 12/26/18
by CD Homes, LLC in 415
Shadywood, LLC, Case No. 18-34659

 

Proof of Claim No. 7-1 filed 12/26/18
by CD Homes, LLC in 415
Shadywood, LLC, Case No. 18-34659

 

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Summary of Sources and Uses of
Funds

 

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Summary of Sources and Uses of
Funds

 

 

 

 

 

 

 

 

 

 

 

 

BY:

FUQUA & ASSOCIATES, PC

/sf Richard L. Fuqua
Richard L. Fuqua

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COUNSEL FOR CD HOMES, LLC

 
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CERTIFICATE OF SERVICE

I hereby certify that at true and correct copy of the foregoing was served on the parties
listed below in the manner specified and by ECF on all parties eligible to receive notice on this
the 12" day of July, 2019.

 

 

Charles M, Rubio Via email: crubio@diamondmecarthy.com
Michael D. Fritz Via email: mfritz@diamondmccarthy.com
Diamond McCarthy, LLP

909 Fannin, 37" Floor

Houston, TX 77010

/s/ Richard L. Fuqua
Richard L. Fuqua
